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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION



WILMER BAUDOIN,                            §
                                           §
                   Plaintiff,              §
                                           §
v.                                         §
                                           §
THE HOUSTON EXPLORATION                    §        CIVIL ACTION NO. G-06-0512
COMPANY, ENSCO OFFSHORE                    §
COMPANY, ENSCO INCORPORATED,               §
CHAPMAN CONSULTING INC., and               §
GRASSO PRODUCTION MANAGEMENT,              §
                                           §
                   Defendants.             §


                       MEMORANDUM OPINION AND ORDER


       Pending before the court are Defendant Grasso Production

Management, Inc.’s (“Grasso”) Motion for Summary Judgment (Docket

Entry No. 76), Plaintiff Wilmer Baudoin’s Response to Grasso’s

Motion for Summary Judgment (Docket Entry No. 92), Defendant Grasso

Production Management, Inc.’s Reply to Plaintiff’s Response to

Grasso’s Motion for Summary Judgment (Docket Entry No. 93), and

Plaintiff Baudoin’s Sur-Reply to Grasso’s Reply to Plaintiff’s

Response to Grasso’s Motion for Summary Judgment (Docket Entry

No. 100).       For the reasons stated below, Grasso’s motion for

summary judgment will be denied in part.


                                I.    Background

       Wilmer Baudoin was allegedly injured in two separate incidents

that    occurred    while    he      was       employed   by   Fluid   Crane   and
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Construction, Inc. to assist with repair work on the Eugene Island

331 B, a fixed offshore platform owned by The Houston Exploration

Company (“HEC”) and located off the coast of Louisiana.1          The first

incident occurred on October 19, 2005,2 when Baudoin was assisting

with an operation that involved using a crane to lift and move a

personnel basket.3    The crane used to move the basket was operated

by an employee of another contractor, Ensco Offshore Company or

Ensco Incorporated (collectively, “Ensco”).4 According to Baudoin,

the basket was located in a position where the crane operator could

not see the basket.5     Baudoin alleges that he was pulling on the

basket when the crane operator unexpectedly began to lift the


     1
      See Plaintiff’s Second Amended Complaint, Docket Entry No. 48
at ¶¶ 10-11; Defendant Grasso Production Management, Inc.’s Motion
for Summary Judgment, Docket Entry No. 76 at 2; Plaintiff’s
Response to Grasso’s Motion for Summary Judgment, Docket Entry
No. 92 at 2-3.
     2
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 2; Witness Statement (included in
Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at Exhibit F); Employer’s First Report of
Injury or Occupational Illness (included in Plaintiff’s Response to
Grasso’s Motion for Summary Judgment, Docket Entry No. 92 at
Exhibit F).
     3
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 2; Oral and Videotaped Deposition of Wilmer
Baudoin (Feb. 13, 2008) at 35-38 (included in Plaintiff’s Response
to Grasso’s Motion for Summary Judgment, Docket Entry No. 92 at
Exhibit A).
     4
      See Oral and Videotaped Deposition of Wilmer Baudoin
(Feb. 13, 2008) at 37 (included in Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at Exhibit A).
     5
         Id.

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basket with the crane.6        This caused Baudoin to slip and fall and

land on his right shoulder.7       Baudoin alleges this fall resulted in

injury to his shoulder and neck.8

     The second incident occurred sometime in November of 2005.9

Baudoin was helping several other fellow employees lift a heavy

piece of pipe.10       During the pipe-lifting operation, the pipe fell,

landing on Baudoin’s right shoulder.11         He alleges that this second

incident     further     exacerbated    the   injuries   to   his   neck    and



     6
         Id. at 45.
     7
      Id. at 45, 58; Witness Statement (included in Plaintiff’s
Response to Grasso’s Motion for Summary Judgment, Docket Entry
No. 92 at Exhibit F).
     8
      Oral and Videotaped Deposition of Wilmer Baudoin (Feb. 13,
2008) at 58 (included in Plaintiff’s Response to Grasso’s Motion
for Summary Judgment, Docket Entry No. 92 at Exhibit A).
     9
      The parties state in their briefs that the second incident
occurred on November 4, 2005.        Defendant Grasso Production
Management, Inc.’s Motion for Summary Judgment, Docket Entry No. 76
at 2; Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 3.      None of summary judgment evidence
submitted by the parties corroborates that date, however. Baudoin
first testified that the incident occurred around November 23,
2005.   Oral Deposition of Wilmer Baudoin at 81 (June 12, 2007)
(included in Defendant Grasso Production Management, Inc.’s Motion
for Summary Judgment, Docket Entry No. 76 at Exhibit D). Later,
Baudoin testified that the incident occurred on November 25 or 26,
2005. Oral and Videotaped Deposition of Wilmer Baudoin (Feb. 13,
2008) at 74 (included in Plaintiff’s Response to Grasso’s Motion
for Summary Judgment, Docket Entry No. 92 at Exhibit A).
     10
      Oral Deposition of Wilmer Baudoin at 81-85 (June 12, 2007)
(included in Defendant Grasso Production Management, Inc.’s Motion
for Summary Judgment, Docket Entry No. 76 at Exhibit D).
     11
          Id. at 86.

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shoulder.12        Baudoin claims that his injuries required surgery and

that he will probably no longer be able to obtain employment in a

similar role.13

        Baudoin sued HEC and Ensco on July 31, 2006, for damages

sustained as a result of the two incidents.14          Baudoin amended his

complaint on September 10, 2007, to add defendant Grasso Production

Management, Inc.15         HEC had contracted with Grasso to provide

services on the Eugene Island 331 B, and Grasso employees were

present on the platform when Baudoin allegedly sustained his

injuries.16       Baudoin alleges that Grasso is liable for his injuries

because Grasso was responsible for promulgating and enforcing

safety policies on the Eugene Island 331 B when Baudoin sustained

his injuries, and that Grasso failed to perform those duties.17




        12
             Plaintiff’s Second Amended Complaint, Docket Entry No. 48 at
¶ 11.
        13
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 3.
        14
             See Plaintiff’s Original Complaint, Docket Entry No. 1.
        15
      See        Plaintiff’s   Second   Amended   Complaint,   Docket   Entry
No. 48.
        16
      See Affidavit of Robert A. Bergeron at ¶¶ 4-8 (included in
Defendant Grasso Production Management, Inc.’s Motion for Summary
Judgment, Docket Entry No. 76 at Exhibit A).
        17
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 1.

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                    II.     Summary Judgment Standard

     Summary judgment is warranted if the movant establishes that

there is no genuine dispute about any material fact and that it is

entitled to judgment as a matter of law.            Fed. R. Civ. P. 56(c).

An examination of substantive law determines which facts are

material.     Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510

(1986). Material facts are those facts that “might affect the

outcome of the suit under the governing law.”           Id.   A material fact

creates a genuine issue if the evidence is such that a reasonable

trier of fact could resolve the dispute in the nonmoving party’s

favor.     Id. at 2511.

     The movant must inform the court of the basis for summary

judgment     and   identify     relevant     excerpts      from     pleadings,

depositions, answers to interrogatories, admissions, or affidavits

that demonstrate there are no genuine fact issues.             Celotex Corp.

v. Catrett, 106 S. Ct. 2548, 2553 (1986); see also Wallace v. Tex.

Tech Univ., 80 F.3d 1042, 1046-47 (5th Cir. 1996).            A defendant may

obtain summary judgment based on an affirmative defense if it

“establish[es]     beyond   dispute    all   of   the   defense’s   essential

elements.”     Bank of Louisiana v. Aetna U.S. Healthcare Inc., 468

F.3d 237, 241 (5th Cir. 2006).        A defendant may also obtain summary

judgment by demonstrating that the plaintiff has failed to make a

showing adequate to establish the existence of an issue of material

fact as to an essential element of his case.             Celotex Corp., 106

S. Ct. at 2552.

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       If the movant makes either of these showings, the burden

shifts to the nonmoving party to show by affidavits, depositions,

answers to interrogatories, admissions on file, or other admissible

evidence that summary judgment is not warranted because genuine

fact issues exist.         See id.       Conclusory claims, unsubstantiated

assertions,      or    insufficient      evidence     will     not    satisfy       the

nonmovant’s burden.        Wallace, 80 F.3d at 1047.            If the nonmovant

fails to present specific evidence showing there is a genuine issue

for trial, summary judgment is appropriate.                  Topalian v. Ehrman,

954 F.2d 1125, 1132 (5th Cir. 1992).                In reviewing the evidence

“the court must draw all reasonable inferences in favor of the

nonmoving party, and it may not make credibility determinations or

weigh the evidence.”        Reeves v. Sanderson Plumbing Products Inc.,

120 S. Ct. 2097, 2110 (2000).


                            III.     Applicable Law

       The court has jurisdiction pursuant to the Outer Continental

Shelf Lands Act (“OCSLA”).            See 43 U.S.C. § 1349(b)(1).                “The

[OCSLA]     provides    comprehensive      choice-of-law       rules    .   .   .    .”

Demette v. Falcon Drilling Co., Inc., 280 F.3d 492, 495 (5th Cir.

2002).      In actions brought under the OCSLA “federal law governs

. . . to the extent that there is applicable federal law; however,

if there is a gap in the federal law, the law of the adjacent state

is   used   as   a    gap-filler   and    becomes    surrogate       federal    law.”

Bartholomew v. CNG Producing Co., 862 F.2d 555, 557 (5th Cir.

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1989).    See also 43 U.S.C. § 1333(a)(2)(A).      In order for state law

to be applied as surrogate federal law three conditions must be

satisfied:

     ‘(1)      The controversy must arise on a situs covered by
               OCSLA (i.e. the subsoil, seabed, or artificial
               structures permanently or temporarily attached
               thereto).

         (2)   Federal maritime law must not apply of its own
               force.

         (3)   The state law     must   not   be   inconsistent with
               [f]ederal law.’

Strong v. BP Exploration & Production, Inc., 440 F.3d 665, 668 (5th

Cir. 2006) (quoting Union Tex. Petroleum Corp. v. PLT Eng’g, Inc.,

895 F.2d 1043, 1047 (5th Cir. 1990)).

     The events giving rise to this case occurred on the Eugene

Island 331 B, a fixed platform located on the Outer Continental

Shelf adjacent to the coast of Louisiana.18           Therefore, it is a

situs covered by OCSLA. See 43 U.S.C. § 1333(a)(1). Additionally,

neither federal admiralty law nor federal common law applies.               See

Rodrigue v. Aetna Cas. & Sur. Co., 89 S. Ct. 1835, 1839-42 (1969)

(holding that under OCSLA federal admiralty law does not apply to

accidents occurring on fixed offshore drilling platforms, and

therefore, that state law governs); Fontenot v. Dual Drilling Co.,


     18
      Plaintiff’s Second Amended Complaint, Docket Entry No. 48 at
¶ 10; Defendant Grasso Production Management, Inc.’s Motion for
Summary Judgment, Docket Entry No. 76 at 4-5; Affidavit of
Robert A. Bergeron at ¶ 4 (included in Defendant Grasso Production
Management, Inc.’s Motion for Summary Judgment, Docket Entry No. 76
at Exhibit A).

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179 F.3d 969, 977 (5th Cir. 1999) (“[O]ur circuit has consistently

rejected       attempts   of   litigants     to   have   ‘federal    common   law’

override rules of Louisiana tort law in actions arising on fixed

platforms on the Outer Continental Shelf.”).              The parties have not

suggested       that   applicable   Louisiana      law   is   inconsistent    with

federal law.       Accordingly, Louisiana law governs.


                                 IV.   Analysis

A.     Prescription

       Grasso first contends that Baudoin’s cause of action against

it has prescribed.19 Under Louisiana law all “delictual actions are

subject to a liberative prescription of one year.”                  La. Civ. Code

Ann. art. 3492 (1994).          Baudoin asserts in his complaint that he

was injured as a result of two incidents, the first occurring in

late October of 2005 and the second in November of 2005.20               Baudoin

timely filed his Original Complaint against defendants HEC and

Ensco on July 31, 2006.21        Baudoin did not file his Second Amended

Complaint to include Grasso as a defendant until September 10,

2007,22 well beyond the one-year prescriptive period.                Thus, on its



       19
      Defendant Grasso Production Management, Inc.’s Motion for
Summary Judgment, Docket Entry No. 76 at 8.
       20
            Plaintiff’s Second Amended Complaint, Docket Entry No. 48 at
¶ 9.
       21
            Plaintiff’s Original Complaint, Docket Entry No. 1.
       22
            Plaintiff’s Second Amended Complaint, Docket Entry No. 48.

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face, Baudoin’s action against Grasso has prescribed.          See Gary v.

Camden Fire Ins. Co., 676 So. 2d 553, 555 (La. 1996) (“Because

plaintiff’s suit for tort damages was filed more than one year

after the accident, the action has prescribed on its face.”).

     If an action is prescribed on its face, “the plaintiff carries

the burden of proving that prescription was interrupted, suspended,

or renounced.”      Id. (citing Lima v. Schmidt, 595 So. 2d 624, 628

(La. 1992)).       Baudoin contends that prescription was suspended

under the discovery rule,23 a prong of the equitable doctrine known

as “contra non valentem agere nulla currit praescriptio,” or just

“contra non valentem,” for short.          See Corsey v. State Dep’t of

Corrections, 375 So. 2d 1319, 1321-23 (La. 1979) (describing the

background   and    evolution   of   contra   non   valentem   doctrine     in

Louisiana, including the discovery rule).

     Under this doctrine the one-year prescriptive period does not

begin to run until “the injured party discovers or should have

discovered the facts upon which his cause of action is based.”

Griffin v. Kinberger, 507 So. 2d 821, 823 (La. 1987) (citing Lott

v. Haley, 370 So. 2d 521 (La. 1979)).         The Louisiana Supreme Court

has explained that the one-year period does not begin to run upon

only a slight indication that the plaintiff has suffered an injury,

but will commence when the plaintiff has “a reasonable basis to


     23
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 4-7; Plaintiff’s Sur-Reply to Grasso’s Reply
to Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 100 at 2-4.

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pursue a claim against a defendant.”        Jordan v. Employee Transfer

Corp., 509 So. 2d 420, 423-24 (La. 1987).         The plaintiff will be

charged with knowledge of any material facts of which he could have

learned had he exercised reasonable diligence.           Herman v. State

Farm Mut. Auto. Ins. Co., 977 So. 2d 41, 45 (La. Ct. App. 1st Cir.

2007) (citing Renfroe v. State ex. rel. Dep’t of Trasp. & Dev., 809

So. 2d 947, 953 (La. 2002)).

     Baudoin asserts that he did not learn of Grasso’s potential

responsibility for his injuries until September 5, 2007.24         On that

date, Baudoin deposed David Williams, HEC’s Manager of Environment,

Safety, and Health.25     In his deposition Williams indicated that

Grasso was responsible for promulgating and enforcing certain

safety policies on the Eugene Island 331 B when Baudoin sustained

his injuries.26   Baudoin argues that it was not until he learned,

through Williams’ deposition, of Grasso’s responsibilities related

to safety procedures that he knew or had any reason to know of the

facts upon which an action against Grasso could be based.27                 In


     24
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 6.
     25
      See Oral and Videotaped Deposition of David Williams
(Sept. 5, 2007) at cover (included in Plaintiff’s Response to
Grasso’s Motion for Summary Judgment, Docket Entry No. 92 at
Exhibit B).
     26
      Id. at 17, 27, 29-31 (pages 29-31 included in Defendant
Grasso Production Management, Inc.’s Motion for Summary Judgment,
Docket Entry No. 76 at Exhibit B).
     27
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 6.

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response,        Grasso        contends   that      Baudoin      failed     to     exercise

reasonable diligence to learn of the material facts upon which he

bases his suit against Grasso; and therefore, contra non valentem

cannot apply to save his claims against Grasso from prescription.28

        Whether the discovery rule applies in this case is a close

question.        Moreover, it appears that prescription may have been

interrupted        for     a    reason    that    neither       party     has    addressed.

Prescription may have been interrupted under Louisiana Civil Code

article        2324(C)29       or   articles     179930   and    350331    when    Baudoin

initiated this action against defendants HEC and Ensco on July 31,

2006.        See La. Civ. Code Ann. arts. 1799, 2324(C), 3503.                    See also,

e.g., Wimberly v. Brown, 973 So. 2d 75, 78 (La. Ct. App. 5th Cir.

2007) (holding that timely service on two defendants interrupted

prescription under articles 1799 and 3503 as to a third, later-

added defendant, who was a solidary obligor with the two original

defendants); Marchand v. State Farm, 897 So. 2d 643, 647 (La. Ct.


        28
      Defendant Grasso Production Management, Inc.’s Reply to
Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 93 at 2-4.
        29
      “Interruption of prescription against one joint tortfeasor
is effective against all joint tortfeasors.” La. Civ. Code Ann.
art. 2324(C) (1997).
        30
      “The interruption of prescription against one solidary
obligor is effective against all solidary obligors and their
heirs.” La. Civ. Code Ann. art. 1799 (2008).
        31
      “When prescription is interrupted against a solidary obligor,
the interruption is effective against all solidary obligors and
their successors.” La. Civ. Code Ann. art. 3503 (1994).

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App. 1st Cir. 2004) (holding that the plaintiff’s timely original

petition against three defendants interrupted prescription under

article 2324(C) as to two later-added defendants, which were joint

tortfeasors with the original defendants).            The court, therefore,

declines to rule on the prescription issue at this time, and will

order the parties to submit supplemental briefs addressing the

potential interruption of prescription under article 2324(C) or

articles 1799 and 3503 of the Louisiana Civil Code.


B.     Duty

       Grasso also asserts that it owed no legal duty to Baudoin and,

therefore, that it cannot be liable to Baudoin for any alleged

negligence.32      Under Louisiana tort law “[t]he threshold issue in

any negligence action is whether the defendant owed the plaintiff

a duty . . . .”33     Hanks v. Entergy Corp., 944 So. 2d 564, 580 (La.

2006).      Whether the defendant owed a duty to the plaintiff is a

question of law.       Id.

       Baudoin does not assert that a statute or Louisiana’s tort

jurisprudence imposed a tort duty on Grasso.           Instead, he contends


       32
      Defendant Grasso Production Management, Inc.’s Motion for
Summary Judgment, Docket Entry No. 76 at 9-12; Defendant Grasso
Production Management, Inc.’s Reply to Plaintiff’s Response to
Grasso’s Motion for Summary Judgment, Docket Entry No. 93 at 5-6.
       33
       To recover for negligence in Louisiana the plaintiff must
establish five elements: (1) the defendant had a duty to conform
his conduct to a certain standard, (2) the defendant breached this
duty, (3) the defendant’s breach was a cause-in-fact of the
plaintiff’s injuries, (4) the defendant’s breach was a legal cause
of the plaintiff’s injury, and (5) the plaintiff suffered injury or
damages. Hanks v. Entergy Corp., 944 So. 2d 564, 579 (La. 2006).

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that Grasso contractually assumed a tort duty in favor of Baudoin

by    entering    into    the   Master   Service    Agreement    with   HEC.34

Specifically, Baudoin asserts that paragraph 6.2 of the Agreement

imposed a tort duty on Grasso in favor of Baudoin.35 This paragraph

provides, in pertinent part:

       [Grasso] is responsible for initiating, maintaining and
       supervising all necessary safety precautions and programs
       in connection with the work. [Grasso] shall take all
       necessary precautions for the safety of all persons and
       employees on the work site, including Company Group, as
       hereinafter defined, and comply and cause [Grasso’s]
       employees, agents, sub-contractors, and others entering
       on [HEC’s] premises in the performance of the work or in
       connection therewith to comply with all of [HEC’s] safety
       rules and applicable provisions of federal, state and
       local safety laws, rules, regulations, and ordinances to
       prevent damage or injury to any and all property and
       persons.36

       “[I]n some instances, a party’s assumption of a contractual

duty may create a corollary or incidental tort duty in favor of

third persons.”       Smith v. State Dep’t of Pub. Safety, 620 So. 2d

1172, 1185 (La. Ct. App. 1st Cir. 1992) (citing Glen G. Morris,

Developments in the Law 1988-1989: Business Associations, 50 La. L.

Rev. 211 (1989)).         The available case law does not, however,

explicitly state a rule for determining when a contractual duty

will create a tort duty in favor of third parties.


       34
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 7-9.
       35
            Id.
       36
      Master Service Agreement at ¶ 6.2 (included in Plaintiff’s
Response to Grasso’s Motion for Summary Judgment, Docket Entry
No. 92 at Exhibit C).

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      One commentator has identified several situations in which

Louisiana courts have found that a defendant owed a tort duty to

the   plaintiff   based,   at   least   partially,   on   the   defendant’s

contractual obligations to a party other than the plaintiff.37          See

Thomas C. Galligan Jr., Contortions Along the Boundary Between

Contracts and Torts, 69 Tul. L. Rev. 457, 520-25 (1994) (describing

the various contexts in which Louisiana courts have recognized tort

duties in favor of third parties based on the alleged tortfeasor’s

contractual obligations).        Most of the paradigms identified by

Professor Galligan are not particularly analogous to the situation

in this case, in which one party potentially has a contractual duty

to ensure that others comply with certain safety rules.            But, the

court finds some of them to be instructive.

      Perhaps the most similar line of cases involves the potential

tort liability of inspectors, who are contracted by principals to

inspect certain objects or places, to third parties who may later

use those objects or places.      See Winget v. Colfax Creosoting Co.,

626 So. 2d 370 (La. Ct. App. 3d Cir. 1993); Morcos v. EMS, Inc.,

570 So. 2d 69 (La. Ct. App. 4th Cir. 1990); State v. Joint Comm’n


      37
      Such situations include product liability suits by parties
not in privity of contract with the product’s manufacturer, tort
suits by home buyers against home inspectors contracted by the
seller, tort suits by construction contractors against architects
where both parties separately contracted with the land or building
owner, and tort suits by persons examined by doctors who were
contracted by the persons’ potential future employers to conduct
pre-employment physicals.    Thomas C. Galligan Jr., Contortions
Along the Boundary Between Contracts and Torts, 69 Tul. L. Rev.
457, 520-25 (1994).

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on Accreditation of Hosps., Inc., 470 So. 2d 169 (La. Ct. App. 2d

Cir. 1985).      In Joint Commission several renal patients at a state

hospital had been injured or died due to excessive levels of

aluminum in the water used for their dialysis treatments.                     Joint

Comm’n, 470 So. 2d at 170.          The state settled with the patients or

their survivors and then sued the Joint Commission on Accreditation

of Hospitals (“JCAH”) for contribution as a joint tortfeasor.                   Id.

The hospital had contracted the JCAH to inspect and accredit the

hospital.     Id.   The court held that the JCAH could not be liable in

tort to the injured patients because its inspection contract with

the hospital did not “include[] within its scope the prevention of

the risk encountered by the dialysis patients to their eventual

injury.”     Id. at 177.

       In Morcos the defendant had been hired by the plaintiff’s

employer to inspect a crane and certify that it complied with

certain federal safety regulations.            Morcos, 570 So. 2d at 70.        The

plaintiff was subsequently injured while using the crane and sued

the inspection company, among others. Id. The trial court granted

summary judgment on behalf of the inspection company, and the court

of    appeals    affirmed,    reasoning    that   the    defendant     inspection

company’s       “contract    was   to   certify   that   the   crane    met   OSHA

regulations.        It was not to make a safety inspection for the

benefit of Morcos, an employee.”               Id. at 76.      The court noted,

however, that the contract might have imposed a duty in favor of


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the plaintiff if it had included a specific stipulation of benefit

for a third person.        Id. at 76 n.2.

        Winget involved a suit by the widow of a lineman who was

killed when the utility pole on which he was working broke and fell

on him.        Winget, 626 So. 2d at 370.     She sued the manufacturer of

the utility pole and the company that had been contracted by the

manufacturer to inspect the pole and certify that it met certain

federal regulations.           Id.   The trial court, relying on Joint

Commission and Morcos, granted summary judgment for the inspection

company.         Id. at 371.    The court of appeals reversed, however,

concluding that there were outstanding questions of fact that had

to be decided before it could be determined whether the inspection

company “had a duty which encompassed the risk to” the plaintiff’s

deceased husband.        Id. at 372.

        Also instructive is the seminal case of Canter v. Koehring

Co.38        Canter v. Koehring Co., 283 So. 2d 716 (La. 1973).      Canter

involved a suit by the widow of a man killed in a crane accident

against individual employees of the company that had contracted

with Canter’s employer to do the construction work.             See id. at

723.     The court reasoned that if the company that had contracted



        38
      “The seminal case in the area of contract-related tort duties
of employees is undoubtedly the 1973 supreme court decision in
Canter.”   Morris, Developments in the Law 1988-1989: Business
Associations, supra, at 212. See also Galligan, Contortions Along
the Boundary Between Contracts and Torts, supra, at 521 (discussing
Canter).

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Canter’s employer owed a duty to Canter, that duty could have been

delegated   by   contract    to   the   defendant   employees    via   their

employment contracts.       See id. at 721.     The court concluded that

“[t]he evidence reflects without substantial dispute” that the

defendants had, in fact, been delegated their employer’s duties by

their employment contracts.       Id. at 723.

     Together,    these   cases    strongly   suggest   that    determining

whether a contract creates a tort duty in favor of a third party is

primarily a matter of contract interpretation.          Even in the cases

in which the courts concluded there was no such duty, the courts

did so not because a tort duty cannot be created by contract, but

because the courts determined that such a duty was not within the

scope of what the particular contracts required.          See Morcos, 570

So. 2d at 76 (holding that the contract did not require the

defendant “to make a safety inspection for the benefit of Morcos,

an employee”); Joint Comm’n, 470 So. 2d at 177 (concluding that the

contract did not “include[] within its scope the prevention of the

risk encountered”).    In this case the court must analyze paragraph

6.2 of the Master Service Agreement between HEC and Grasso and

determine whether it could be interpreted to impose a tort duty on

Grasso in favor of Baudoin.

     Under Louisiana law contracts are to be interpreted by the

court as a matter of law if they can be “construed from the four

corners of the instrument without looking to extrinsic evidence.”


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Bernard v. Iberia Bank, 832 So. 2d 355, 359 (La. Ct. App. 4th Cir.

2002) (citing Peterson v. Schimek, 729 So. 2d 1024, 1029 (La.

1999)).            If the contract is found to be ambiguous, however,

extrinsic evidence may be evaluated to ascertain the intent of the

parties. Commercial Props. Dev. Corp. v. State Teachers Ret. Sys.,

808 So. 2d 534, 540 (La. Ct. App. 1st Cir. 2001) (citing La. C.C.

art. 2045).          The intent of the parties is an issue of fact.     Id.

But “[w]hether a contract is ambiguous or not is a question of

law.”        Id. (citing Hampton v. Hampton, Inc., 713 So. 2d 1185, 1189-

90 (La. Ct. App. 1st Cir. 1998)).

        Looking only to the text of paragraph 6.2, and not considering

any extrinsic evidence, the court concludes that the contract

provision is not ambiguous.          Paragraph 6.2 imposes on Grasso, in

favor of “all persons and employees on the work site,” a duty to
                                                           39
“take all necessary safety precautions . . . .”                 It further

imposes a duty on Grasso, in favor of “any and all . . . persons,”

to “comply and cause [Grasso’s] employees, agents, sub-contractors,

and others entering on the Company’s premises . . . to comply with

all of [HEC’s] safety rules and applicable provisions of federal,

state and local safety laws, rules, regulations, and ordinances to

prevent damage or injury . . . .”40          At the time he sustained his



        39
      Master Service Agreement at ¶ 6.2 (included in Plaintiff’s
Response to Grasso’s Motion for Summary Judgment, Docket Entry
No. 92 at Exhibit C).
        40
             Id.

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injuries, Baudoin came within the protected class of “all persons

and employees on the work site,” and/or as “any and all . . .

persons.”41       Grasso therefore owed Baudoin a duty of care as a

matter of law.       Accordingly, the court will deny Grasso’s motion

for summary judgment on the ground that it owed no duty.42


C.     Causation

       Lastly, Grasso contends that neither its actions nor inactions

were the legal cause of Baudoin’s injuries.            Under Louisiana tort

law, for a defendant’s negligent action or inaction to be the legal

cause of the plaintiff’s injuries “(1) the defendant’s negligence

must be a cause-in-fact of the injured person’s injuries; and

(2) the risk of harm encountered by the injured person must fall

within the scope of protection afforded by the duty to others

breached by defendant’s negligence.”           Dartez v. City of Sulphur,

179 So. 2d 482, 484 (La. Ct. App. 3d Cir. 1965) (citing Dixie Drive



       41
            Id.
       42
      Even if paragraph 6.2 were ambiguous the court could not
grant summary judgment to Grasso based on the duty element.
Baudoin has produced some extrinsic evidence indicating that the
parties’ intent was to impose the stated duties on Grasso.
Specifically, David Williams, HEC’s Manager of Environment, Safety,
and Health, testified in his deposition that Grasso was the party
in charge of ensuring that safety policies were followed on the
platform.    Oral and Videotaped Deposition of David Williams
(Sept. 5, 2007) at 27 (included in Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at Exhibit B).
Therefore, viewing the evidence in the light most favorable to
Baudoin, a genuine issue of material fact exists as to the intent
of the parties with regard to the imposition of a duty on Grasso.

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It Yourself New Orleans Co. v. Am. Beverage Co., 137 So. 2d 298

(La. 1962)).


      1.   Cause in Fact

      Baudoin does not allege that any affirmative action on the

part of Grasso was a cause in fact of his injuries.              Instead, he

argues that Grasso’s inaction in failing to ensure that others on

the   platform   complied   with   the    established   safety    rules   for

conducting a blind crane lift resulted in his injury.43 Baudoin has

presented evidence that there was a safety procedure in place on

the platform for conducting blind crane lifts,44 that the procedure

required that the lift be conducted using either a radio or flagman

to communicate with the crane operator,45 and that the procedure was



      43
      Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at 3, 7-9. Baudoin only argues that Grasso
breached the duty imposed on it by the Agreement by allowing the
October 19, 2005, blind crane lift to proceed without following
applicable safety procedures. See Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at 7-9. Baudoin
does not contend that Grasso breached its duty in conjunction with
the second incident in which Baudoin was allegedly injured. See
id.
      44
      Video Deposition of Robert Andrew Bergeron (Aug. 5, 2008) at
32 (included in Plaintiff’s Response to Grasso’s Motion for Summary
Judgment, Docket Entry No. 92 at Exhibit E).
      45
      Oral and Videotaped Deposition of Wilmer Baudoin (Feb. 13,
2008) at 73 (included in Plaintiff’s Response to Grasso’s Motion
for Summary Judgment, Docket Entry No. 92 at Exhibit A); Video
Deposition of Robert Andrew Bergeron (Aug. 5, 2008) at 32 (included
in Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at Exhibit E).

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not followed during the lift that resulted in Baudoin’s injury.46

This evidence, when viewed in the light most favorable to Baudoin

and   assuming     that   Grasso’s   duty   included   ensuring   that   the

applicable safety procedures were followed for this particular

crane lift, is sufficient to create a genuine issue of fact as to

whether Grasso’s inaction was a cause in fact of Baudoin’s injury.


      2.      Scope of the Duty

      The contract imposes on Grasso a duty to “take all necessary

precautions for the safety of all persons and employees” and to

“comply, and cause [Grasso’s] employees, agents, sub-contractors,

and others entering on [HEC’s] premises . . . to comply with all”

applicable safety rules and regulations.47             The contract limits

Grasso’s duties, however, only to “the performance of the work or

in connection therewith.”48 The term “work” is specifically defined

in the contract in paragraph 3.49       Paragraph 3 is entitled “Work,”



      46
      Oral and Videotaped Deposition of Wilmer Baudoin (Feb. 13,
2008) at 38, 73-74 (included in Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at Exhibit A).
      47
      Master Service Agreement at ¶ 6.2 (included in Plaintiff’s
Response to Grasso’s Motion for Summary Judgment, Docket Entry
No. 92 at Exhibit C). See supra Part IV.B for the entirety of the
applicable text of ¶ 6.2.
      48
      Master Service Agreement at ¶ 6.2 (emphasis added) (included
in Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at Exhibit C).      In the same paragraph the
Agreement also states that “[Grasso] is responsible for initiating,
maintaining and supervising all necessary safety precautions and
programs in connection with the work.” Id. (emphasis added).
      49
           See id. at ¶ 3.

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and reads in pertinent part:                  “The work subject to this Agreement

shall        include       any    goods,   facilities,      or    services   which   are

requested by [HEC] by oral or written work order, and which are

provided           by    [Grasso]    during    the   term    of    this   Agreement.”50

Therefore, unless the crane operation in which Baudoin was injured

constituted “work” -- i.e., it was both requested by [HEC] by oral

or written work order and provided by Grasso -- or was “in

connection with” such work, Grasso had no duty to ensure it was

conducted according to applicable safety procedures.

        Baudoin has presented sufficient evidence to create an issue

of material fact as to whether the crane operation in which he was

injured qualifies as Grasso’s “work” or was in connection with

Grasso’s “work.”             Specifically, Baudoin has produced evidence that

a Grasso employee, Verges Pierre,51 summoned him to the office of

the company man.52               Baudoin testified in this deposition that the

company man was named Tony Landry and that he too was a Grasso

employee.53             Baudoin further testified that the company man, along



        50
             Id.
        51
      None of the evidence presented states that Pierre was a
Grasso employee. Grasso, however, characterizes Pierre as a Grasso
employee in its Reply to Plaintiff’s Response to Grasso’s Motion
for Summary Judgment. See Defendant Grasso Production Management,
Inc.’s Reply to Plaintiff’s Response to Grasso’s Motion for Summary
Judgment, Docket Entry No. 93 at 7 n.6.
        52
      See Oral and Videotaped Deposition of Wilmer Baudoin
(Feb. 13, 2008) at 36 (included in Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at Exhibit A).
        53
             Id. at 12-13.

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with Baudoin’s supervisor, ordered him to participate in the crane

operation.54      Baudoin has also produced evidence tending to show

that Pierre was involved to some extent in actually carrying out

the crane operation.55

      This evidence is sufficient to create a genuine issue of

material fact as to whether the crane operation was a service

provided by Grasso or was in connection with a service provided by

Grasso.      Grasso, referring to Baudoin’s deposition, contends that

Pierre was not involved in the actual carrying out of the crane

operation, and that he was only walking by when the accident

occurred.56      But other evidence, including the report documenting

the   accident     prepared   by   Mark   Kennedy,   Baudoin’s   supervisor,

suggests that Pierre was involved in the crane operation to some

degree.57      Moreover, Grasso does not deny that Pierre summoned


      54
           Id. at 35.
      55
      See Employer’s First Report of Injury or Occupational Illness
(stating that “Wilmer Bauboin [sic] and Verges Pierre was [sic]
pulling the personal [sic] basket from underneath the rig floor.
They picked up one en[d] of the basket not knowing the basket was
tied to the grating. Their[sic] was another basket in front of
them. They tripped on the basket causing them to fall.”) (included
in Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 92 at Exhibit F).
      56
      See Oral and Videotaped Deposition of Wilmer Baudoin
(Feb. 13, 2008) at 45 (Describing the accident, Baudoin stated that
“by that time Pierre was coming around the corner. Before he could
get to me, he grabbed. It was too late. It was too heavy, fell on
me and him both.”) (included in Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at Exhibit A).
      57
      See Employer’s First Report of Injury or Occupational Illness
(included in Plaintiff’s Response to Grasso’s Motion for Summary
Judgment, Docket Entry No. 92 at Exhibit F).

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Baudoin    to   the   company   man’s      office.     Additionally,      Baudoin

testified that he engaged in the crane operation at the order of

the company man, Tony Landry, who was also allegedly a Grasso

employee.58     In response to this assertion, Grasso claims only that

Landry    was   not   present   on   the    platform    at   the   time   of   the

accident.59     But Grasso supports this contention only by pointing

out that a Job Safety Analysis log sheet from October 19, 2005, the

date of the crane incident, was not signed by Landry.60               This does

not conclusively prove that Landry was not present, nor does it

conclusively prove that he was not a Grasso employee.

     The evidence presented by Baudoin is also sufficient to create

an issue of fact as to whether Grasso’s involvement in the crane

operation was pursuant to an HEC work order.                 Baudoin testified

that the operation was initiated at the request of the company man.

It is reasonable to infer that the company man was carrying out his

responsibilities under an HEC work order.              Moreover, a reasonable

fact-finder could also infer that Pierre’s involvement in the crane


     58
      Oral and Videotaped Deposition of Wilmer Baudoin (Feb. 13,
2008) at 12-13, 35-36 (included in Plaintiff’s Response to Grasso’s
Motion for Summary Judgment, Docket Entry No. 92 at Exhibit A).
     59
      See Defendant Grasso Production Management, Inc.’s Reply to
Plaintiff’s Response to Grasso’s Motion for Summary Judgment,
Docket Entry No. 93 at 7 n.5. In this footnote Grasso refers to
the alleged company man as “Tony Baudoin,” but the court assumes
that Grasso is actually referring to Tony Landry.
     60
      See Job Safety Analysis (Oct. 19, 2005) (included in
Defendant Grasso Production Management, Inc.’s Motion for Summary
Judgment, Docket Entry No. 76 at Exhibit H).

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operation was at the direction of HEC, or at least in connection

with his responsibilities under an HEC work order.

     The court concludes that issues of fact exist as to whether

the crane operation during which Baudoin was injured constituted

“work” or was “in connection with” work, and thus as to whether

protecting Baudoin from the risk he encountered during the crane

operation was within the scope of Grasso’s duties.         The court will

therefore deny Grasso’s motion for summary judgment based on lack

of causation.


                       V.   Conclusion and Order

     Based on the foregoing analysis, Defendant Grasso Production

Management,   Inc.’s   Motion   for   Summary   Judgment   (Docket    Entry

No. 76) is DENIED as to its duty and causation arguments.               The

court reserves judgment as to the prescription ground.

     Grasso shall submit a supplemental brief within ten business

days addressing whether prescription was interrupted before the

expiration of the one-year period pursuant to Louisiana Civil Code

article 2324(C) or articles 1799 and 3503.         Baudoin shall file a

response within ten business days after Grasso files its brief.

     SIGNED at Houston, Texas, on this 30th day of October, 2008.




                                                    SIM LAKE
                                          UNITED STATES DISTRICT JUDGE


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